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UNITED STAIES DISTRICT COURT
SOUTHERN DISTRICT OF NEWYORK


THE CITY OF NEWYORK,

                                 Plaintiff,

                          v

DONALD TRUMR in his official capacity as President of
the United States;

U.S. DEPARTMENT OF THE TREASURY;

SCOTT BESSENI in his official capacity as Secretary of
the Treasury;

PATRICIA COLLINS, in her official capacity as Treasurer
of the U.S.;

U.S. FEDERAL EMERGENCY MANAGEMENT
AGENCY;                                                        COMPLAINT

CAMERON HAMIRON, in his official capacity as
Senior Official Performing the Duties of the
Administrator, U.S. Department of Homeland Security,
Federal Emergency Management Agency;

U.S. DEPARTMENT OF HOMELAND SECURITY;

KRISTI NOEM, in her official capacity as Secretary of the
U.S. Department of Homeland Security;

U.S. DEPARTMENT ORAGENCY OF UNKNOWN
IDENTITY;

JOHN OR JANE DOE, in his or her official capacity as
head of U.S. Department orAgency of Unknown Identity;

                                 Defendants.

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       PlaintiffThe City of New York (the "City"),by its attomey, Muriel Goode-Trufant,

Corporation Counsel of the City of New York, alleges upon personal knowledge as to itself and

upon information and belief as to all other matters:


                                        INTRODUCTION


        1   .   On Tuesday, February ll , 2025, at 4:03 pm, the long arm of the federal

government reached into a central bank account of the City of New York (the "City") and

grabbed $80,481,86L.42.Ittook these funds from the City without any advance notice that it

would be doing so and without communicating any decision or rationale to the City.

        2.      Defendant U.S. Federal Emergency ManagementAgency ("FEMA") took back

the funds it paid the City on February 4,2025, even though it had thoroughly reviewed and

analyzedthe extensive supporting documentation submitted by the City and approved payment

as reimbursement for eligible and compliant expenditures under two federal grants awarded


under the Shelter and Services Programs ("SSP").

        3.      Indeed, FEMA offered and awarded the grants and reviewed and approved the

payment to the City, to offset allowable costs the City incurred for shelter and services it

provided to noncitizen migrants who were processed and released into the community by

defendant the U.S. Department of Homeland Security ("DHS"). FEMA's stated purpose in

offering the grants-to "relievfe] overcrowding in short-term holding facilities of U.S. Customs

and Border Protection"-is the exact purpose for which the City used the funds.

        4.      These funds were appropriated by Congress for the purpose of making SSP grants

available nationwide to local governments and non-profit organizations in border states, such as

Texas and Arizona, andother locales, like New York City, receiving the largest influxes of

migrants released by DHS.


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        5.      Before FEMA transferred these funds to the City on February 4, FEMAhad

already reviewed the City's grant applications and awarded the grants, reviewed and approved

the City's budget for each glant, and reviewed and approved the City's reimbursement request,

which included extensive detail as to each migrant who received services and back-up

documentation validating the costs incurred.

        6.      Despite the fact that FEMAhad reviewed and approved the City's request, and

issued payment, Defendants grabbed the money back without any administrative process

whatsoever. Indeed, as of the moming of February 18,2025, FEMAs platform for grant making

and administration, entitled "FEMA GO" (an acronym for "FEMA Grant Operations"),

continued to indicate that the City's approved request for $80,481 ,861.42 was disbursed to the

City.

        7.      Defendants have made it clear in contemporaneous public statements that they

opposed the very purpose for which SSP funds were appropriated by Congress and approved by

FEMA and that they intended to make sure the funds were recouped and never paid.

        8.       For example, defendant Cameron Hamilton, Senior Official Performing the Duties

of the FEMAAdministrator posted on February 10,2025,the day before the money grab:

"@USCongress should have never passed bills in 2023 and2024 asking FEMAto do this work. .

. . Thi s stops now. " https l l x. coml F EMA-Cam/ stattts 1 1 888923 67 2 523 489 649 .
                            :




        g.       Likewise, defendant DHS Secretary Kristi Noem, in announcing the previous

day's money {ab,posted on February 12,2025: "I have clawed back the full payment that

FEMA deep state activists unilaterally gave to NYC migrant hotels."

                   stiN                      4575




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       10.       The statements could not be clearer: Defendants'purpose for grabbing back the

funds was not related to the City's specific expenditures at all, but to thwart the very purpose of

the SSP.

        11.      No lawful procedure permits Defendants-as they did here-to take back grant

funds previously approved and paid without legitimate basis and without first following and

complying with the steps required under the applicable rules, grant terms and conditions.

Defendants have acted lawlessly, but have attempted, after the fact, to mask this fact with a

semblance of following procedure.

           12. First, several hours after grabbing the funds back from the City, Defendants,
including DHS and FEMA, filed papers in a federal court proceeding in Rhode Island requesting

that court's confirmation that Defendants may permissibly "withhold" FEMA funding, and

represented to that court that they intended to provide "notice to New York City regarding the

funding pause and will provide the information and process required by regulation and the terms

and conditions of the award." Defs.' Emergency Motion, New Yorkv. Trump,No. 1:25-cv-00039

(D.R.I. Feb. 11,2025),ECF No. 102. FEMAdid not tell the Court that, far from merely

,'withholding" funds, it had already, just hours earlier, taken back from the City funds that it had

previously approved and Paid.

           13.    Further, having stated publicly that it was opposed to spending the funds

altogether, and having taken the funds without following any lawful process whatsoever, FEMA
                                                                                   ooon
nonetheless represented to the Court that it sought to "withhold" funding solely          the basis of


the applicable authorizing statutes, regulations, and terms." Id.Yetatthatpoint, FEMAhad not

complied with any applicable statutes, regulations, and glant terms and conditions and had taken

back funds in violation of the same.




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        14. Next, a week later, in a post hoc effort to adorn defendants' lawless money grab
with a veneer of administrative process, Administrator Hamilton sent the City's Office of

Management and Budget ("City OMB"), which administers the FEMA grants for the City, a

"Remedy forNoncompliance Letter" dated February 18,2025 ("noncompliance" letter) that

purports to set forth "Findings" of significant concern that the SSP funds are going towards

"illegal activities." FEMA sent this letter just days after the City publicly announced its intention

to sue over the money grab.

        15.    Simply put, the "noncompliance" letter is pretextual, a cover for Defendant's real

intent, which-as they've stated publicly-is to withhold the funds permanently because they

oppose the purposes for which the funds were appropriated, awarded, approved, and paid. The

letter, relying only on unsubstantiated characterizations of "media reports," makes allegations of

crime and gang activity at the Roosevelt Hotel---one of the many locations for which FEMA

reimbursed the city for shelter and services. Tellingly, the letter omits any mention that FEMA

officials twice visited the Roosevelt Hotel in Septemb er 2024 and that those visits did not lead to

any findings of alleged criminal activity. In addition, Defendants fail to cite any regulatory

authority that supports denying funding to the City under the SSP based on purported criminal

activity by those released by DHS into the community when the City has been assisting DHS in

providing shelter.

        16. Further, the letter makes a show of requesting information to further a purported
review of the City's SSP awardsfor2024 and2023 ("SSP24" and "SSP23",and collectively

,'SSP awards"), but mainly seeks information that OMB previously provided to FEMA, and that


FEMA already reviewed and approved in order to determine that the claimed reimbursements

were allowable. Indeed, while the letter alleges the City is somehow encouraging illegal




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immigration, FEMA already confirmed in approving and issuing the payment that all funds were

used to provide services to individuals who DHS had released from its custody into the

community.

        17. The letter does not identiff any applicable rules or grant terms or conditions with
which it alleges the City might not have complied. Instead, the letter effectively - and improperly

- adds new terms and conditions. The letter is meant to look like it affords the requisite

administrative process when, in fact, the decision has already been made to deny payment to the

City because Defendants do not want to pay the City for providing the very services to the very

people for the very pu{poses that Congress appropriated the funds and FEMA awarded the grants

and approved and made the payments.

        18.    This lawsuit challenges two actions by Defendants based on two core contentions.

First, Defendants'money-grab-after FEMAreview, approval, and actual payment, without

notice or process of any kind-was, simply put,lawless. It violated federal regulations and grant

terms, was contrary to law and in excess of authority, and contrary to their obligations to

implement Congressional appropriations.

        lg.     Second, Defendants February 18,2025 withholding letter likewise violates the

law. Indeed, despite Defendants'representations to the federal court in Rhode Island that they

were withholding FEMA funding from the City in accordance with applicable rules, grant terms

and conditions, and not pursuant to a "fundingfreeze" or'opause" of the type that is temporarily

restrained in that case, they are using the post hoc pretense of regular administrative procedure to

mask that they are in fact acting pursuant to a broad "freeze" or "pause" on SSP funding. This

appears to be part of an overarching strategy of finding ways to get around the TRO in New York




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v. Trump and refuse to spend funds specifically authorized by Congress for this express purpose

even after those funds were previously approved and actually paid by the very same agency.

       20.       Because Defendants took the extraordinary and lawless measure of seizing money

from the City's bank account-by surprise, and without notice-the City seeks the extraordinary

remedy of mandatory injunctive relief to compel Defendants to return the money to the City'

restoring the status quo ante. Such remedy is necessary because funds paid through

Congressional appropriation are not fungible-if not disbursed, they can be reappropriated, or

the appropriation may expire before this case is resolved, leaving the City without recourse.

Defendants, notwithstandingthe post hoc pretense of administrative process, have made it

abundantly clear that they intend to withhold permanently every dime FEMApreviously

awarded, approved for reimbursement, and paid to the City.

           21.   Defendants also seek relief to make sure that Defendants do not improperly grab

more money from the City and do not improperly withhold funds that the City is entitled to

recelve.

       22.       Therefore, the City brings this suit for a declaration that the money grab and the

withholding of SSP24 and SSP23 funds are each arbitrary and capricious, contrary to law, ultra

vires and in excess of authority, without observance of lawful procedures, and each violates the

Due Process Clause, the separation of powers doctrine, and the Spending Clause. The City also

seeks relief (1) ordering Defendants to reverse the FEMAmoney grab by returning the $80

million to the City's bank account; (2) enjoining Defendants from taking any further money from

any City bank account in connection with the SSP24 and SSP23 FEMA grants; and (3) enjoining

them from implementing the withholding of SSP24 and SSP23 funds.




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                                            PARTIES


        23.     Plaintiff the City of New York is a municipal corporation organized and existing

under the laws of the State of New York.

        24.     Defendant Donald J. Trump is the President of the United States. He is

responsible for the actions and decisions that are being challenged by Plaintiffs in this action and

is sued in his official capacity.

        25.     Defendant United States Federal Emergency ManagementAgency ("FEMA") is

part of the United States Department of Homeland Security, a cabinet agency within the

executive branch of the United States govemment. 6 U.S.C. $ 313.

        26.     Defendant Cameron Hamilton is the Senior Official Performing the Duties of the

Administrator (hereinafter, "Acting Administrator") of FEMA and that agency's highest ranking

official. He is charged with the supervision and management of all decisions and actions of that

agency. He is sued in his official capacity. 6 U.S.C. $$ 313, 314.

        27.     Defendant United States Department of Homeland Security is a cabinet agency

within the executive branch of the United States goveflrment. 6 U.S.C. $ 11 1.

        28.      Defendant Kristi Noem is the Secretary of the United States Department of

Homeland Security and that agency's highest ranking official. She is charged with the

supervision and management of all decisions and actions of that agency. She is sued in her

official capacity. 6 U.S.C. $ 112.

        29.      Defendant United States Department of the Treasury is a cabinet agency within

the executive branch of the United States government. 3l U.S.C. $ 301. The Department of the

Treasury is responsible for ensuring the financial security of the United States. FEMA grant




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payments are transferred to the City's account by the Federal Reserve Payment System, with the

participation of the Treasury Department.

         30.   Scott Bessent is the Secretary of the Department of the Treasury and responsible

for the operations of the Department of the Treasury and management of the finances of the

United States. He is sued in his official capacity. 31 U.S.C. $ 301.

         31.   Patricia Collins is the Treasurer of the United States and responsible for the

management of the finances of the United States. She is sued in her official capacity. 3l U.S.C.


$ 301.

         32.   Defendant U.S. Department orAgency of Unknown Identity is an as-yet

unidentified department, agency, or other unknown entity of the United States with the ability

and/or authority to return $80 million in unlawfully grabbed funding to the City's bank account,

and is named here for the purposes of ensuring that complete relief may be obtained.

         33.   Defendant John or Jane Doe Official is an official of the United States with the

ability andlorauthority to return $80 million in unlawfully grabbed funding to the City's bank

account, and is named here in their official capacity for the putpose of ensuring that complete

relief may be granted.


                                   JURISDICTION & VENUE


         34. This Court has subject matter jurisdiction over this action under 28 U.S.C.
                                                                                is also proper under
$$ 1331, zz11(a)because this action arises under federal law. Jurisdiction

the judicial review provisions of the Administrative Procedure Act, 5 U.S.C. $ 702.

         35. Venue is proper in this district pursuant to 5 U.S.C. $ 552(aXa)(B) and 28 U.S.C.
$$ 1391(b) (2) &(eXl). Defendants are United States agencies or
                                                                       officers sued in their official




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capacities. Plaintiff is the City of New York, and a substantial part of the events or omissions

giving rise to this Complaint occurred and continue to occur within the City of New York.


                                              FACTS


   A. Congress Appropriated Funds for Local Governments to Assist in Providing Shelter
       and Services to Migrants Released by DHS into the Community

        36.    In2019, as part of the federal government's response "to the significant rise in

aliens at the southwest border," Congress authorized FEMA to provide grants to local

government and nonprofit organizations assisting migrants encountered by DHS at the southern

border and released into the community. These grants were only available to'Jurisdictions or

local recipi ent organizations serving communities that have experienced a significant influx" of

migrants and covered the provision of food, shelter, basic medical care, and transportation. These

grants were provided through FEMA's Emergency Food and Shelter Progtam Humanitarian

("EFSP-H"). See Emergency Supplemental Appropriations for Humanitarian Assistance and

Security at the Southern BorderAct, Pub. L. No. 116-26,Title III, 133 Stat. 1020-21(2019). This

program continued into the BidenAdministration. See Department of Homeland Security

AppropriationsAct, 2023,Pub. L. No. 117-328, 136 Stat.4740 (2022).

        37.    Ln2023, Congress authorized FEMA and U.S. Customs and Border Protection

("CBP") to establish SSP. See Department of Homeland Security Appropriations Act, 2023,Pub'

L. No. 117-328,Title II, 136 Stat. 4730 (2022).The stated purpose of SSP is to relieve

overcrowding in short-term CBP holding facilities. To that end, the program reimburses non-

federal entities providing shelter and related services to noncitizen migrants following their

release from DHS.




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       38. ln2)24,Congress, through the Department of Homeland SecurityAppropriations
Act,2024,Pub. L. No. 118-47, 138 Stat. 598 (the "DHS AppropriationsAct"), authorized

continued funding for SSP. Title II of thatAct, entitled Security, Enforcement, and Investigations,

provides that $650 million "shall be transferred to 'Federal Emergency ManagementAgency-

Federal Assistance'to support sheltering and related activities provided by non-Federal entities,

in support of relieving overcrowding in short term holding facilities of the U.S. Customs and

Border Protection."l

   B. The SSP24 Grants
        39. On April 12,2024, FEMA issued two Notices of Funding Opportunity ('NOFO")
for the Fiscal Year 2024 Shelter and Services Program. One NOFO announced an allocation

grant,meaning that the amount the City and other localities could apply for were pre-determined

on an allocation basis ("SSP-A Granf'). The other NOFO announced a competitive grant-that

is, the City's application would compete with others for an award from a limited set of funds




I See also FEMA, Shelter and Services Program, https://www.fema.gov/erants/shelter-services-
program (last visited Feb. 13, 2025) ("SSP provides financial support to non-federal entities to
provide sheltering and related activities to noncitizen migrants following their release from the
Department of Homeland Security (DHS). The intent is to support CBP in the safe, orderly, and
humane release of noncitizen migrants from short-term holding facilities.").



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("SSP-C Grant") (collectively, the SSP24 Grants").2 FEMAissued an amended SSP-ANOFO on

August 28,2024 and an amended SSP-C NOFO on October 21,2024-3

         40. Both SSP grants have an expected period of performance of 36 months, from
October 1,2023 to September 30, 2026.

         41. The NOFOs described the SSP as follows:
            As directed by Congress, SSP makes federal funds available to enable non-
            federal entities to off-set allowable costs incurred for services associated with
            noncitizen migrants recently encountered and released by DHS. As stated in
            the FY 2024 appropriation, the primary pulpose of SSP is to "reliev[e]
            overcrowding in short-term holding facilities of [CBP]'" .. '.

            The Department of Homeland Security (DHS) has committed to bolstering the
            capacity of non-federal entities to receive noncitizens after they have been
            processed by U.S. Customs and Border Protection (CBP) and released from a
            DHS facility. DHS is committed to ensuring appropriate coordination with
            and support for state, local, and community leaders to help mitigate increased
            impacts to their communities as outlined in the DHS Plan for Southwest
            Border Security and Preparedness, issued on April 26,2022, and updated on
            December 13,2022.

SSP-ANOFO at 5, SSP-C NOFO at 5.




2
 The grant identification number is DHS-24-GPD-141-00-98. The SSP-A NOFO may be
accessed at https ://www. fema. eov/print/pdflnode/67 64 8 9 or
                                                                -nofo. See also
https://www.grants.gov/search-results-detail/353512;FEMA Grant Programs Directorate
Information Bulletin No. 505 (Apr.12,2024),
https://www.fema.sov/sites/default/files/documents/fema-spd-ib-505.pdf.
3
    The amended SSP-A NOFO may be accessed at https://www.fema.eov/print/pdf/node/683858
s1 https://www.fema.gov/grants/shelter-services-prosran/ssp-a/ff24-ssp-a-amended-reserve-
funding-nofo . See also FEMA, Grant Programs Directorate Information Bulletin No. 518 (Aug.
28,2024),https://www.fema.eov/sites/default/files/documents/fema-ib-fr24-ssp-a-round-2.pdfi
https://www.fema.gov/grants/shelter-services-program/ssp-a/fy-24-ssp-a-reserve-funding-faqs.



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       42. The NOFOs described the goals of SSP as "the safe, orderly, and humane release
of noncitizen migrants from DHS short-term holding facilities." The objectives of the program

include providing funding for non-federal entities that serve "noncitizen migrants recently

released from DHS custody" to "temporarily provide shelter, food, transportation, acute medical

care, [and] personal hygiene supplies."

        43. The NOFOs speciSz the allowable (i.e., reimbursable) activities under the SSR
including providing shelter at hotels and motels and providing food, medical supplies, clothes

and personal hygiene products. SSP-ANOFO at 69 et seq.; SSP-C NOFO at64 et seq.

        44. As noted above, the FY 2024 SSP appropriation provided $650 million for SSP,
including FEMA administration costs. The SSP-A funds were allocated to grantees in two

rounds, with allocations based on release and destination data received from CBP. The NOFO

released on April 12,2024 announced $300 million in round 1 allocations and the amended

NOFO released on August 28,2024 announced round 2 (Reserve Fund) allocations. New York

City was allocated $38.86 million for round I and $20.4 million for round 2.

        45. Millions of dollars were also allocated for non-profit organizations and local
govemments across the country including more than $60 million for specified cities, counties,

and not-for-profits in Texas, $10.8 million for Fulton County, Georgia, $11.6 million to Maricopa

County, Adzona, and $21.8 million to Pima County, Arizona.

        46. The remaining $340.9 million was released through SSP-C grants. See SSP-A
NOFO at 5; SSP-C NOFO at 7. These grants were awarded on a competitive basis, to local

governments and nonprofit organizations that submitted gtant proposals evaluated by FEMA. In

addition, "$9.1 million was set aside for FEMAmanagement and administrative costs." SSP-A

NOFO at 5




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       47.     The SSP-A NOFO lists the "Performance Measures for SSP awardees" as:

               o Number of meals provided.
               o Number of nights of lodging provided.
               o Number of noncitizen migrants transported.
               o Number of acute medical care items provided, by type.
               o Number of personal hygiene supplies provided, by type.
               o Number of hours of labor paid to manage cases to provide these
                   services.

               . Number of clothing items provided.
               o Number of noncitizenmigrants served through translation services.
               o Number of noncitizen migrants served through outreach activities.
               o Number of renovation or modifications to existing facilities projects
                   completed.

SSP-ANOFO at 7; SSP-C NOFO at 6.

       48.     FEMA'"calculate[s] and analyze[s] the [enumerated] metrics through a review of

performance progress reports and award monitoring to ensure that the funds are expended for

their intended purpose and achieve the stated outcomes in the grant application." Id.

       49. To complete an SSP-A or SSP-C application, applicants must submit budget
information, standard assurances, and worksheets, with program-specific certifications and

budget instructions. SSP-ANOFO at 28-29; SSP-C NOFO at 18-19. The applicant must also

agree to the terms and conditions of the award. SSP-ANOFO at 11; SSP-C NOFO at          ll.
       50.     To obtain FEMAs approval to draw down funds, grantees must submit for

FEMAs review additional information and documentation, including'o[a] summary list reporting

Aflien]-Numbers, names, coresponding DHS release dates of the served population, and

corresponding service dates of the served population." SSP-ANOFO at 29; SSP-C NOFO at19.

"For each requested allowable activity service category" the grantee must "provide one example


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of proof of payment (e.g., canceled check, credit card statement, etc.) and a receipt reflecting the

purchase." 1d. Additional documentation requirements apply for reimbursement of purchases

above $5,000.1d.

       51.     The SSP grants provide for reimbursement only for shelter and services provided

to migtants who DHS determined to release into the United States. For that reason, grantees must

submit the name, valid Alien Registration Number, or "A-Number,?'and corresponding DHS

release date for every person for whom the grantee seeks FEMAreimbursement. SSP-ANOFO

at29; SSP-C NOFO at 19. Thus, FEMA provides reimbursement for shelter and services

provided to a given individual only after FEMA verifies that the individual has a valid A-Number

and was released by DHS into the community.

        52.     The NOFOs specifu that all funds for which the applicant sought reimbursement

"must comply with applicable statutes, rules and regulations, and policies, this NOFO, and the

terms and conditions of the federal award. They must also comply with the Uniform

Administrative Requirements, Cost Principles, and Audit Requirements at2 C.F.R. Part200."

SSP-ANOFO at 30, SSP-C NOFO at2l. The NOFOs also incorporate by referencetheFY 2024

DHS Standard Terms and Conditions. SSP-ANOFO at 38; SSP-C NOFO at32.

           L The GrantAwards
       53.     OnApril 24,2024,the City, acting through its Office of Management and Budget

("City OMB") submitted an application to FEMA for an SSP-A grant for $38,864,884.00, the

maximum amount then allocated to New York City as set forth in the SSP-ANOFO prior to

amendment. On June 71,2024, City OMB submitted an application to FEMA for an SSP-C grant

for $34,090,000, the maximum amount permitted for a single applicant.

        54. The City's applications included detailed budget worksheets for FEMA s review.
All costs are budgeted on a per diem basis, with separate line items for, among other things,

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meals, security, case coordination, and medical. For example, the budgeted per diem cost

submitted by the City for a night of hotel lodging is $62.19.

        55.    OnJuly S,2024,theCityreceiveditsawardletterforround I of SSP-Afunding,

for $38.86 million ("SSP-AAward Letter"). Subsequently, on September 1I,2024, FEMA

approved an additional$20.4 million in round 2 funds for the City.

        56. On Septemb er 17 ,2024, the City received its award letter for SSP-C funding, for
$22 million ("SSP-C Award Letter" and collectively with the SSP-AAward Letter, "Award

Letters").

        57. To accept the SSP-A and SSP-C grants funds, the City was required to agree to
the terms set forth in the NOFOs and Award Letters. See SSP-AAward Letter at 1, SSP-C Award

Letter at 1.

        58.    The Award Letters further incorporated by reference the terms of 2 C.F.R. Part200

and the NOFOs. SSP-AAward Letter, Arts.2,28; SSP-C Award Letter Arts.2,28. Additionally,

the Award Letters provide that FEMA must inform the grantee in writing if an "error has been

made fin a grant package], or if an administrative change must be made" to a grant. SSP-A

Award Letter, Aft. 44; SSP-C Award Letter Art 44.

         59. The City opted to receive grant payments on a reimbursement basis, meaning that
the grantee must obtain FEMA s approval of a grant budget-namely the line items of expected

expenditures for which reimbursement will be made-and only following budget approval, the

grantee may submit a documented request for reimbursement for approved expenditures that

have already been made.




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       60. TheAward Letters were issued with a funding hold; as set forth in the NOFOs, in
order to obligate or draw down SSP grant funds, the City is required to submit a "detailed cost

breakdown and justification." SSP-AAward LetterArt. 48; SSP-CAward Letterkt. 48.

           iL FEMA's               of the Citvts Grant Rudsets and
               Pavment of Reimbursements

       6L      On November 27,2024, City OMB submitted to FEMAthe detailed cost

breakdown and justification required in support of a future reimbursement request for both the

SSP-A and SSP-C grants.

       62. Following a review process, FEMA approved the City's SSP24 grant budgets on
January 8 and 10,2025, respectively.

        63. On January 14,2025, City OMB submitted to FEMA a request for reimbursement
of $22,169,838.00 of expenditures for its Fiscal Year 2024 SSP-C grant and on January 15,2025,

City OMB submitted to FEMA a request for reimbursement of costs in the amount of

85g,302,125.07 for its Fiscal Year 2024 SSP-A grant, together representing the entirety of the

SSP grant awards to the City for Fiscal Yeat 2024.

        64. In support of the payment requests, City OMB submitted all of the
documentation required by FEMA including the name and A-Number for each individual, and

invoices and other documentation of expenditures'

        65. On January 3I,2025, following its review of the City's submissions, FEMA
informed the City that the reimbursement for the SSP grants would need to be reduced slightly to

account for an error rate of roughly 1.22% in matching theA-Numbers to eligibility for

reimbursement and indicated that it would approve and make payment upon a request for the

reduced amount.




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       66. The City resubmitted to FEMArevised payment requests for the two gtants in the
amounts of $58,581 ,446.08 and $21,900,415.34,respectively, as pre-authorized by FEMA. The

amounts in the revised payment requests reflected a reduction of l.22oh from the City's initial

payment requests to account for FEMA s 1.22o/o error rate finding. The remaining balance-

roughly $l million between the two grants-remains available for future reimbursement of

allowable expenses based on a subsequent submission.

       67.     On February 4,2025,the City received payments by ACH wire transfer to the

City's central treasury account of $58,581,446.08 and $21,900,415.34, the full amount that

FEMAhad approved for reimbursement to the City.

       68.     FEMA's approval and payment of these amounts constitutes FEMAs

determination-after thoroughly reviewing budget details, expenditure documentation, and

personal information of migrants-that the funds FEMA approved and disbursed were allowable

under the grant terms and conditions.

    C. FEMA Grabs Back $80 Million without Notice

        69.    Seven days after the City received payment, on February 1I,2025 at 4:03 pm,

FEMAremoved $80,481 ,861.42 from the City's central treasury account, the entire amount that

FEMA had approved for reimbursement and disbursed to the City for the SSP-A and SSP-C

grants combined.

        70.    FEMA did not provide any advance notice to the City of the money grab. FEMA

did not follow any of the measures set forth in the grant terms and conditions or the regulations

relevant to the grant. In fact, FEMA does not appear to have followed any administrative process

at all in grabbing the SSP funds.




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       71. Nor did FEMA provide any advance notice of any reason or basis to the City for
the money grab. Indeed, it did not communicate with the City at all before taking the funds.

   D. Federal Officials Make Pubtic Statements Opposing SSP

       72.     While FEMA did not communicate directly with City OMB before or

immediately after its money grab either to warn that it intended to take the money or to provide

any reasons why, outside the grant administration process, various federal officials-including

Elon Musk, an unelected and unconfirmed individual who appears to be leading the Department

of Govemment Efficiency ("DOGE"), defendant Kristi Noem, the Secretary of the Department of

Homeland Security, and defendant FEMAActing Administrator Cameron Hamilton-made

public statements condemning SSP and touting the FEMAmoney grab on social media, in press

releases, and in court proceedings to which the City is not aparty. These statements make

unsupported claims regarding the FEMA funding received by the City and do not identify any

lawful ground for FEMA to ignore Congress's intent and the applicable rules and grant terms and

conditions and grab back the money it awarded, approved, and paid to the City.

        73.    On Monday, February 10,2025 at 5:03 am, Elon Musk, in a post filled with

inaccuracies, posted that DOGE had "discovered" a $59 million payment from FEMA to the City'

"to house illegal immigrants," that a "demand" would be made for the return of the funds, that

the funds were meant for disaster relief and that "sending this money violated the law":




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             Elon Muskg         I                                                 Subscribe    )d
   *         @elolrmusk

   The @DOGE team just discovered that FEMA sent $59M LAST WEEK to
   luxury hotels in New York City to house illegal migrants.

   Sending this money violated the law and is in gross insubordination to the
   President's executive order.


   That money is meant for American disaster relief and instead is being spent
   on high end hotels for illegals!

   A clawback demand will be made today to recoup those funds.

    5:03 AM ' Feb 10,2025' 66.2M Views


     Q aor                    tI tzgr                    (2 o+zr                 R 28K              c
https ://x. com/elonmusk/status/ 1 8 8 8 8 9 I 5 I 23 03 263 8 I 5.

         74. Far from being diverted from an approved purpose of "disaster relief" the funds
were approved and disbursed pursuant to SSR exactly as authorized and intended by Congress

and awarded, approved, and paid by FEMA.

         75. Contrary to Musk's post, the funds were not used to pay for'oluxury hotels," but
rather to pay the FEMA-approved rate of $62.19 per person for lodging in any of the more than

220 hotels, motels, or other facilities that FEMAreviewed and approved. Further, FEMApaid

only for shelter and service to migrants who FEMA confirmed before making payment had a

DHS-issuedA-Number and who DHS released from its custody into the community.

         76. Two hours after Musk's post, at7.01a.m., Acting Administrator Hamilton
reposted it and added: "I want to thank the @DOGE team for making me aware of this. Effective




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yesterday these payments have all been suspended from FEMA. Personnel will be held

accountable."https://x.com/FEMA-Cam/stafus/1888921176199635266. ActingAdministrator

Hamilton here appears to be instituting a "pause" or "suspension" of the FEMApayments- via

a post on X----on Monday February l0 (purportedly "[e]ffective yesterd ay" , i.e. Sunday, February


9). City OMB was not notified of this, and on information and belief, neither was any other

grantee. Further, the funds FEMA approved for reimbursement to the City had already been paid

to the City six days earlier.

        77. ActingAdministrator Hamilton followed up ten minutes later at 7:11 a.m. with
another post acknowledging that the SSP funds provided to the City were in fact appropriated by

Congress for the very purpose for which the City used them, stating: "@USCongtess should

have never passed bitls in 2023 and 2024 asking FEMA to do this tgorlc" (Emphasis added.)

Notwithstanding his acknowledgment of Congress'express appropriation, ActingAdministrator

Hamilton stated: "This stops now." https://x.com/FEMA-Cam/status/1888923672523489649.




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           cameron Hamitton g Orrnan-Catn ' Feb 10                                {l "'
   @       I want to thank the G)DOGE team for making me aware of this. Effective
           yesterday these payments have all been suspended from FEMA. Persotrnel will
           be held accountable.


           @elonrnusk


              $ non MuskO ! @elonntusk ' Feb 1o
              The @DOGE team just discovered that FEMA sent $59M LAST WEEK to
              luxury hotels in New York City to house illegal migrants.

              Sending this money violated the law and is in gross insubordinatiott to the
              President's executive order. ...
              Show llrclIe


            Q sgr              tl :.tr            I tor              rlrl 547K           R .1

            cameron Hamilton       0                                                    (l
    @       @FEMA*Cam

    @USCongress should have never passed bills in 2023 and ?A24 asking
    FEMA to do this work. This stops now.

    7:11 AM ' Feb 10,2025'78K Views


     Qut                  tJ oas                 9or                   F 60                    c
        78.    The statement could not be clearer: Defendants'purpose for grabbing back the

funds was to stop the SSP program entirely. It was not related to the City-specific costs or

compliance issues, but was designed to thwart the very pufpose for which Congress appropriated

the funds and FEMA awarded, approved, and disbursed them.

       79.      On Tuesday February 11,2025, DHS announced that it had fired four FEMA

employees, including the chief financial officer, "for circumventing leadership to unilaterally

make egregious payments for luxury NYC hotels for migrants."



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                                      1l

employees-who-made-payments-luxury; see also Luis Ferr6-Sadumf, Top FEMA Official Is

Fired Over Paymentsfor N.Y.C. Migrant Shelters,N.Y. Times (Feb. 11,2025),



   E. FEMA ooPause[s]" SSP without Lawful Basis, but Claims in Federal Court Filings to
       Be Following 66AppHcablet' Laws and Procedures

       80.     Defendants openly articulated their hostility to SSB their unwillingness to

administer the program, and their intention to take back the SSP funding. However, Defendants
                                                                               o'pause, freeze,
are subject to at least one temporary restraining order ordering them not to

impede, block, cancel, or terminate Defendants'compliance with awards and obligations to

provide federal financial assistance ...except on the basis of the applicable authorizing statutes,

regulations, and terms" and to "comply with all notice and procedural requirements in the award,

agreement, or other instrument relating to decisions to stop, delay, or otherwise withhold federal

financial assistance programs." New Yorkv. Trump,No. 25-ov-39-JJM-PA5,2025 U.S. Dist'

LEXIS 17593 (D.R.I. Jan. 31, 2025), ECF No. 50 (the "TRO").

       8l .    That TRO was entered in a case filed by 22 states (including New York) seeking to

temporarily restrain and enjoin the across-the-board pause on federal funding disbursement

implemented by the Trump administration. See generally New Yorkv. Trump, No. 25-cv-39-JJM-

PAS (D.R.I. filed Jan.28,2025) (hereinaftet "New Yorkv. Trump").

        82. In granting the TRO, the Rhode Island court noted that the Defendants identified
no authority allowing them to unilaterally suspend the payment of federal funds or to impose

conditions on appropriated funds beyond what Congress had authorized, and that the Court was

not otherwise aware of any. TRO at 5;2025 U.S. Dist. LEXIS 17593, at
                                                                           *ll.



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       83. Subsequently on February 10, 2025,the Rhode Island court granted the Plaintiff
States'Motion for Enforcement of the Temporary Restraining Order, stating as follows:

           The States have presented evidence in this motion that the Defendants in some
           cases have continued to improperly freeze federal funds and refused to resume
           disbursement of appropriated federal funds. The Defendants now plead that
           they are just trying to root out fraud. Bvt the freezes in effect now were a
           result of the broud categorical order, not a specificfinding of possiblefraud.
           The broad categorical and sweeping freeze of federal funds is, as the Court
           found, likely unconstitutional and has caused and continues to cause
           ineparable harm to a vast portion of this country. These pauses in funding
           violate the plain text of the TRO. In response to the Defendants'arguments,
           they can request targeted relief from the TRO from this Court where they can
           show a specific instsnce where they are acting in compliance with this Order
           but otherwise withholdingfunds due to specffic authorily.

New Yorkv. Trump,No. 25-cv-39-JJM-PA5,2025 U.S. Dist. LEXIS 26334,at*12,2025WL

440873 (D.R.I. Feb. 10, 2025),ECF No. 96 (citations and footnotes omitted)'

       84. To evade these obligations and create cover for the money grab, at approximately
7 p.m. on February l1,2025-three hours after FEMAhad already grabbed $80M from the

City's bank account without notice-some of the defendants here filed a motion in New York v.
                  ooEmergency Motion. . . for Permission to Continue Withholding FEMA and
Trump entitled,

Other Funding."

       85. The emergency motion purported to seek confirmation that a "withholding" of
FEMA funding to the City did not violate the TRO.

       86. Without mentioning that FEMAhad already taken from the City funds that FEMA
had approved and transferred to the City a fulI week earlier, the emergency motion stated that

,'FEMA seeks to withhotd Shelter and Services Program (SSP) funding based on concerns

regarding the program" and "respectfully requests confirmation that Defendants may permissibly




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withhold certain FEMA funding, i.e., as 'a specific instance where they are acting in compliance

with this Order but otherwise withholding funds due to specific authority."' Id. (emphasis added)'

       87.     In a declaration accompanying the emergency motion, FEMAActing

Administrator Hamilton represented that FEMA had "paused" SSP funding because of concerns

the funds were being mis-used by the City and that FEMAwould follow all applicable processes

under the SSP grant and applicable laws and regulations. Specifically, Administrator Hamilton

made the following representations:

               o "As of today, the Department has paused funding to the Shelter and Services
                   Program based on significant concerns that the funding is going to entities
                   engaged in or facilitating illegal activities."

               o "For example, a substantial portion of Shelter and Services Program money
                   goes to funding alien housing at the Roosevelt Hotel in New York City.
                   According to media reports, the vicious Venezuelan gang Tren De Aragua has
                   taken over the hotel and is using it as a recruiting center and base of
                   operations to plan a variety of crimes."

               o ooFEMAis in the process of requesting information from New York City to
                   further investigate this matter to ensure that federal funds are not being used
                   for illegal activities."
               o "FEMA will begin the process of providing notice to New York City regarding
                   the funding pause and will provide the information and process required by
                   regulation and the terms and conditions of the award. See 2 C.F.R. S 200.242."

Declaration of Cameron Hamilton, New Yorkv. Trump, Feb. 11, 2025, ECF No. 102-l

("Hamilton Declaration") 1111 6, 7, 12, 13.

       88.     The Hamilton Declaration also attached a memo from DHS Secretary Kristi

Noem, stating that all funding to non-governmental organizations ("NGOs") for services that

"touch in any way on immigration" including SSP were "paused." Kristi Noem, Mem. for

Component and Office Heads (Jan.28,2025) (ooNoem Memo"), available as ECF No. 102-2 in

New Yorkv. Trump. The Noem Memo explained that, in Noemns view, the "[DHS] has spent




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billions of dollars funding illegal immigration," including by funding NGOs that "purport[] to

provide a variety of services to illegal aliens." In pausing the NGO funding for SSR Secretary

Noem makes clear her opposition to the program itself.

       89.     The Hamilton Declaration relied on "media reports," rather than on any fact-based

analysis. It did not identifu any activity by the City that was inconsistent with SSP24 grant

conditions or unlawful, except for vague allegations of encouraging aliens to reside in the U.S.,

transporting illegal aliens, harboring, or aiding and abetting. Since all of the migrants for whom

FEMAreimbursed the City were released into the community by DHS with anANumber, and

the reimbursement was for the express purpose of relieving DHS of the burden of maintaining

these individuals in DHS custody, these assertions are misleading and without merit.

       90.     The Hamilton Declaration did not inform the court that FEMAhad already, three

hours before the emergency motion was filed, grabbed back $80 million in SSP funds from the

City without complying with any of the notice or procedural requirements in the SSPAward

Letters, NOFOs or the applicable federal regulations.

        gl.    The Hamilton Declaration cites 2 C.F.R. S 200.242,but that provision does not

exist. 2 C.F.R. 5 200.342,however, requires that an agency that "initiatfes] a remedy for

noncompliance (for example, disallowed costs, a corrective action plan, or termination)'.. must

provide the recipient with an opportunity to object and provide information challenging the

action." No such opportunity was provided before FEMAtook the money.

        92.    The Court denied the emergency motion on February 12,2025, stating:

           As to FEMA funds to New York City, the Defendants represent that they
           intend to provide 'notice to New York City regarding the funding pause and
           will provide the information and process required by regulation and the terms
           and conditions of the award.'ECF No. 102-l atfl 13. Because the Defendants
           are seeking to terminatefunding 'on the basis of the applicable authorizing




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           stotutes, regulations, and terms,'ECF No. 50 at 12 (emphasis added), the
           Court sees no need for further clarification.

Ordet New Yorkv. Trump, Feb. 12, 2025, ECF No' 107.

       93. The District Court of Rhode Island thus relied on Defendants'representation that
they were seeking to "pause" funding "on the basis of the applicable authorizing statutes,

regulations and terms" when, in fact, far from merely pausing funding, Defendants had already

grabbed back funds that had been paid to the City, and had done so without providing notice to

the City and without following any of the applicable statutes, regulations and terms.

        94. The day after the filing in the Rhode Island case, on February 12,2025, at l:37
pm, defendant DHS Secretary Kristi Noem repeated the unsupported statements in the Hamilton

Declaration, that persons residing in hotels the City used to temporarily shelter non-citizen

migrants committed crimes and that approved SSP funds were grabbed back for that reason.

https://x.com/ItuistiNoem/status/1 88974575292407408 8.



     tt      Kristi Noem 0
             @KristiNoem
                                                                                          (l

     I have clawed back the full payment that FEMA deep state activists
     unilaterally gave to NYC migrant hotels.

     FEMA was funding the Roosevelt Hotel that serves as a Tren de Aragua
     base of operations and was used to house Laken Riley's killer.


     Mark my words: there will not be a single penny spent that goes against
     the interest and safety of the American people.




      Q s.sr                tJ zrr                 Q rror                f,l r:r                c

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   F. FEMA Issued a,'Noncompliance Lettero'in a Pretense of Procedural Compliance
       95.     More than a week after the money gtab, Defendants began to manufacture a

veneer of the procedural compliance that Administrator Hamilton had represented in court filings

they were following. On February 19,2025,Neil Thompson, the Deputy Assistant Director at

City OMB, received a letter, dated February 18,2025, from FEMAActing Administrator

Hamilton with the subject line 'oRemedy for Noncompliance Letter, Shelter and Services

Progtam (SSP)."

        96. In the letter, Administrator Hamilton purports to "notifu fCity OMB] that
DHS/FEMAis temporarily withholding payments to fCity OMB]" for three grant awards: the

FY24 SSP-Agrant award of $59,302,125.07,theFY24 SSP-C gtant award of $22,169,838.00,

and an SSP grant award the City received for FY23 in the amount of $106,879,743.00 ("SSP23

Granf'). The letter admits that FEMAhad already grabbed back the SSP-A and SSP-C grant

awards paid to the City, stating that FEMA "recovered two payments completed via direct

deposit on February 4,2025,totaling $80,481,861.42." The letter claims that the money grab

"constitutes a part of this temporary withholding."

       97.     The letter states that DHS/FEMA is withholding funds pursuant to 2 C.F.R.


$ 200.339(a), which states that "[w]hen [a] Federal agency . . . determines
                                                                              that noncompliance

cannot be remedied by imposing specific conditions, the Federal agency . . . may . . . (a)

temporarily withhold payments until the recipient or subrecipient takes corrective action." But

the letter also states, inconsistently with the above, that FEMA "is instituting specific conditions

on fthe City's] award pursuant to 2 C.F.R. $ 200.208." As noted above, 2 C.F.R. $ 200.208

allows federal agencies to adjust specific conditions in the Federal award based on analysis of the

following factors:




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           (1) Review of OMB-designated repositories of govemment-wide data (for
           example, SAM.gov) or review of its risk assessment (See $ 200.206);

           (2) The recipient's or subrecipient's history of compliance with the terms and
           conditions of Federal awards;

           (3) The recipient's or subrecipient's ability to meet expected performance
           goals as described in $ 200.211; or

           (4) A determination of whether a recipient or subrecipient has inadequate
           financial capability to perform the Federal award.

       98.     The letter fails to note, however, that FEMAmay not initiate a remedy for

'ononcompliafice," such as withholding funds, without providing notice to the City and an

opportunity to object and provide information challenging the action. 2 C.F.R. S 200'342.

Ignoring that rule, FEMA not only instituted a withholding, it took back funds it had already

awarded, approved, and paid before commencing any administrative process whatsoever.

        gg.    The letter also omits reference to regulations providing that "payments for

allowable costs must not be withheld at any time during the period of performance unless

required by Federal statute, regulations," or "The recipient ... has failed to comply with the terms

and conditions of the Federal award; or... is delinquent in a debt." CFR $ 200.305(b)(6)

(emphasis added). If "such conditions" aro met, "the Federal agency... may, after providing

reasonable notice,withhold payments to the recipient... until the conditions are conected." Id.

And in the event payments are withheld for noncompliance, they must be released'tpon

subsequent compliance." 2 CFR $ 200.305(bX7).

        100. Here, FEMA has not identified any federal statute or regulation that requires
withholding of SSP grant funds, nor has it identified any grant terms or conditions with which

Defendants allege the City has not complied. Whatever the supposed violation, Defendants have

not made a final determination following notice and opportunity to be heard.



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        101. Instead, even taking the letter at face value, the stated reasons for withholding
funds are based on specious and unsubstantiated allegations unrelated to any grant terms or

conditions.

         102. The "noncompliance" letter announces purported "Findings," which are expressed
aS no more than "concems" and which are, in any event, facially pretextual.


        103. First, the letter states that DHS "has significant concerns that SSP funding is
going to entities engaged in or facilitating illegal activities." But it does not allege any purported

illegal activities committed by any entity that might have been paid with funds for which the City

obtained reimbursement. Instead, the letter alleges-citing and exaggerating the same news

reports that defendant Hamilton cited in his declaration a week earlier:

              According to media reports, the vicious Venezuelan gang Tren De Aragua has
              taken over the hotel and is using it as a recruiting center and base of
              operations to plan a variety of crimes. According to these same reports, these
              crimes include gun and drug sales as well as sex trafficking, which can
              reasonably be presumed to be conducted in the hotel itself.

         lO4. The letter asserts that "DHS/FEMA has a responsibility to ensure that it does not
make payments that fund criminal activity" but, as FEMAknows, the grant does provide

oofinancial
              support to non-federal entities to provide sheltering and related activities to noncitizen

migrants following their release from the Department of Homeland Security." FEMA, Shelter

and Services Program, https://wwwfema.gov/erants/shelter-services-program (last visited Feb.

t3,2025).

        105. A further "finding" is FEMA's purported "concern" that
              entities receiving payment under this program may be guilty of encouraging
              or inducing an alien to come to, enter, or reside in the United States in
              violation of law, 8 u.s.c. $ 132a(a)(l)(A)(iv); transporting or moving illegal
              aliens, id. $ 1324(a)(t)(A)(ii); harboring, concealing, or shielding from




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            detection illegal aliens, id. $ 1324(axlXA)(iii); or applicable conspiracy,
            aiding or abetting, or attempt liability respecting these statutes.

        106. As FEMAknows, this is a patently false "concern" because the grants fund only
those costs for shelter and services that are provided to individuals that DHS determined to

release from its custody into the community. That is, the individual was already in the United

States, in DHS custody, and then released by DHS to the community-facts that FEMA

confirmed for each individual before, and as a condition of, making payment.

        107. The "noncompliance" letter claims that "[b]ased bn the concerns described . . . ,
DHS/FEMAwill conduct additional monitoring and review of'the FY23 andFY24 SSP awards

'oas permitted by the terms and conditions of the award(s) to ensure compliance with all terms


and conditions of [the] award(s)." The letter reiterates that "[d]uring this time, payments under

the grant award(s) will be temporarily held. This action includes the amount of funding . . . that

DHS/FEMA recently clawed back." The 'ononcompliance" letter adds that "[u]pon the conclusion

of that monitoring, FEMAwill notifu you of the results and any other remedies for

noncompliance or specific conditions, as appropriate."

        108. The o'noncompliance" letter makes a show of requesting information that would
somehow assist FEMAin making a final determination. But the information requested is largely

information that FEMA not only has, but has already reviewed in determining to make payment

to the City. The letter seeks:

            All documents regarding the aliens with whom your organization and your
            subrecipients and contracts interacted with in carrying out the scope of your
            SSP award, including their names and contact information; and a detailed and
            descriptive list of specific services provided, and proof of provision of these
            services; or

            A written statement that your organization has already submitted all of the
            information identified in No. 1, above, to DHS/FEMA.



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        109. As noted above, the City supplied the name and A-Number for individuals for
whom the City sought reimbursement, as well as proof of services rendered-all of which FEMA

reviewed and approved for payment. Further, none of the information requested is in any way

                                         o'concern": allegations of criminal activity. It is a charade of a
related to the letter's stated central

request for information, not a meaningful request'

    G. The,oNoncompliance" Letter Wrongly Implicates the Fiscal Year 2023 SSPAward

        110. The'Noncompliance Letter" references the SSP23 grant, though it is unclear
whether and to what extent FEMA s "findings" concem that grant. Indeed, FEMA already

conducted a "Compliance Review" with respect to the SSP23 Grant and made findings, afact

omitted from the "Noncompliance Letter." Despite having conducted a financial and

programmatic site visit-including at the Roosevelt Hotel-FEMA did not identifu in its

Compliance Review Findings any of the matters now set forth in the "noncompliance" letter.

        1l l.   As background: FEMA awarded the City $106.9 million under the SSP23 grant

and, to date, has reimbursed the City $70.6 million for allowable costs under the grant.

         Il2.    As with the SSP24 Grants, FEMAs stated purpose in offering the SSP23 Grant

was:

            To provide funding to non-federal entities that serve noncitizen migrants
            recently released from DHS custody to temporarily provide shelter, food,
            transportation, acute medical care, personal hygiene supplies, and labor
            necessary to manage cases to provide these services; and,

            To provide funding to non-federal entities to increase their capacity to
            temporarily shelter noncitizen migrants recently released from DHS custody,
             including renovations and modifications to existing facilities.

The SSp23 NOFO further states FEMA s "priority" of the "safe, orderly, and humane release of

noncitizen migrants from DHS short-term holding facilities."




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       I 13. The City applied for the SSP23 Grant on July 12,2023. FEMA initially awarded

the City a granlof $104.7 million by notice effectiveAugust 11,2023, which it increased to

$106.9 million on September 28,2023.As with the applications for the SSP24 Grants, the City's

application for the SSP23 Grant included a list of all the locations for which the City indicated it

might seek reimbursement, including the Roosevelt Hotel.

        Il4.   OMB submitted two requests for partial reimbursement under the SSP23 Grant.

FEMA approved the City's first reimbursement request in the amount of $25.5 million on July

25,2024. FEMA approved the City's second reimbursement request in the amount of $45.1

million on January 7,2025. To date, the City has received $70.6 million in reimbursement from

FEMAunder the SSP23 Grant. Under the grant terms, $36.3 million remains available for

claiming reimbursement of allowable costs.

        115. As with the FY24 SSP-A and SSP-C Grants, OMB submitted to FEMAthe name,
A-Number, and other information for each individual for whom the City's cost of providing

shelter and services was included in the reimbursement request. In addition, for the SSP23 Grant,

OMB was required to include the DHS Release Date (the date DHS released each individual

from DHS custody) because, per the gtant terms, FEMA would only reimburse for shelter and

services provided within 45 days of release. FEMAreviewed all of this information in

determining that the City's reimbursement request was for allowable costs and in determining to

make the payment.

        116. In stark contrast with thepo st hoc pretextual process around FEMA s money grab,
FEMAhad previously initiated a compliance review audit of the first payment made under the

SSP23 Grant that included a'Joint financial and progtamming site visit." As part of the visit,

officials from FEMA and the Customs and Border Protection toured the Roosevelt Hotel and




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another facility on Septemb er 9,2024.Apart from the Compliance Review, FEMA officials

visited the Roosevelt Hotel on September 26,2024.

       lI7.      On November 29,2024, FEMAprovided its findings to OMB by letter. FEMA

made findings in three areas: (1) data privacy protections forANumbers, (2) contract provisions,

and (3) certain financial management issues. Having visited the Roosevelt Hotel twice, FEMA

did not identifu any purported gang or illegal activities at the Roosevelt Hotel in its Compliance

Review Findings.

        1   18. FEMA has conducted zero additional visits to the Roosevelt Hotel. The recent
"noncompl ianse" letter provides no first-hand account in support of FEMA s allegations of

criminal activity and instead relies solely on characterizations of unsubstantiated media reports.

That is not a proper process and is indicative that Defendants have determined not to fund the

City's SSP grants under any circumstances and are seeking to create a paper trail to mask the fact

that the determination is not related to "noncompliance" or to any proper grounds for

withholding funds.

    H. FEMA is Bound by Extensive Rules and Procedures, Including in the Grant Terms
        and Conditions

        119. By grabbing back funding from the City, and suspending further funding under
SSP24 and SSP23, FEMAhas acted contrary to the applicable rules and grant terms. There is

nothing in the NOFOs, Award Letters, nor the applicable regulations, that allows Defendants to

'orecover" funds by taking them out of the City's bank account before going through an

administrative process that includes notice and an opportunity to object.

        120. Furthermore, Defendants'supposed administrative determination to suspend
SSP24 and SSP23 funding is plainly pretextual, as it does not identifr any legitimate basis for

withholding SSP funding - let alone for having taken back funds that were previously approved


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and paid. Instead, it makes specious allegations unrelated to the grant terms, asks for submission

of information that City OMB already provided and that FEMA already reviewed in detail, and

fails to cite any grant term with which the City has not complied.

   I. The Money Grab Violates Federal Rules and Grant Terms and Conditions
        I2I. As described above, FEMA did not provide any notice to City OMB before the
money grab.

        122. The money grab was made in total disregard of the fact that FEMA awarded the
grant and then reviewed, approved, and paid the reimbursement.

        123. No lawful grounds exist-and none have been asserted-for the money gtab, and
no lawful procedure was followed. Instead, defendants have made clear that their true intent is to

halt the program entirely because they do not like it, and have commenced a post hoc

"procedure" to give legal gloss to their unlawful determination and action. The money grab must

be reversed and defendants prevented from engaging in unlawful money grabs in the future.

   J. The City Faces lrreparable Harm
        I24. The over $80 million grabbed back by Defendants is reimbursement for amounts
that the City already expended in reliance on the SSP's terms, and that FEMA awarded, reviewed

in detail, approved for payment, and paid to the City.

        125. Because of Defendants'money grab, the City is at risk of losing this funding
permanently even if it prevails in this lawsuit. SSP funds could become unavailable to the City

during the time it takes to decide this lawsuit, if the SSP appropriation is fully obligated (i.e. the

City's funds are redistributed to other recipients) and thus exhausted; the appropriation expires;

or if the appropriation is rescinded by Congress. Defendants have articulated their hostility to

SSP and their desire to stop disbursing SSP funds, even if disbursement is consistent with




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congressional purpose. The City, even if ultimately successful here, risks a permanent loss of

these funds because of Defendants' $80 million money grab.

        126. In addition, given that the noncompliance letter references the SSP23 grant funds
for which the City was previously reimbursed, Defendants may attempt to unlawfully execute

another money grab for the SSP23 funds. Hence the City seeks an injunction to require the

repayment of the $80 million in SSP24 funds, and an injunction to prevent Defendants from

another money grab of the SSP23 funds.

        127. The illegitimate suspension of the SSP24 and SSP23 grants on pretextual grounds
also harms the City, as there remain additional funds from which the City may draw down, if it

submits eligible costs for reimbursement. The SSP24 grants awarded to the City include an

additional $1 million; while the SSP23 grant includes an additional $36.3 million. Denial of

those funds to the City on grounds, conditions, or terms other than those provided in the SSP

grantAward Letters and NOFOs would likewise result in harm to the City, its budget, and its

finances.

        I28. Defendants'conduct as described above, including the money grab and the
funding pause based on a pretextual administrative "noncompliance" letter, demonstrate the

futility of pursuing an administrative appeal of the "noncompliance" letter.


                                    CLAIMS FOR RELIEF


                                           Count I
                                  Substantive APA Violation
                        Arbitrary and Capricious; Abuse of Discretion
                                (Against Agency Defendants)

        I2g. The City repeats and realleges all paragraphs above as if fully set forth herein.
        130. Defendants include "agencfies]" under the APA. 5 U.S.C. $ 551(l)

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        131. The FEMAmoney grab is agency action subject to review under theAPA.
        132. The withholding of SSP24 and SSP23 funding is an agency action subject to
review under theAPA.

        133. TheAPArequires that a court o'hold unlawful and set aside agency action,
findings, and conclusions found to be . . . arbltrary, capricious, an abuse of discretion, or

otherwise not in accordance with law." 5 U.S.C. $ 706(2XA).

        134. An agency action is arbitrary or capricious where it is not "reasonable and
reasonably explained." FCC v. Prometheus Radio Project,592 U.S. 414,423 (2021). An agency

must provide "a satisfactory explanation for its action[,] including a rational connection between

the facts found and the choice made." Motor Vehicle Mfrs. Ass'n of the U.5., Inc. v. State Farm

Mut. Auto. Ins. Co.,463 U.S. 29,43 (1983) (cleaned up).

        135. The'oreasoned explanation requirement of administrative law . . . is meant to
ensure that agencies offer genuine justifications for important decisions, reasons that can be

scrutinizedbycourtsandtheinterestedpublic." DeptofCommercev.NewYork,588U.S.752,

755 (20Ig). Agencies may not rely on explanations that are "contrived" or "incongruent with

what the record reveals about the agency's priorities and decision-making process." 1d

        136. Moreover, "courts may not accept ... counsel's post hoc rationalizations for
agency action" or otherwise "supply a reasoned basis for the agency's action that the agency

itself has not given." Motor Vehicle Mfrs. Ass'n,463 U.S. at 43,50. Rather, "an agency's action

must be upheld, if at all, on the basis articulated by the agency itself." Id.

        137. Here, Defendants have provided the City no reason or basis at all for grabbing
$g0 million from the City's bank account for costs FEMAhas already confirmed through
                                                                                                review

of extensive documentation were eligible for reimbursement under the SSP grants. Likewise,




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Defendants have not offered any lawful basis for withholding the SSP24 and SSP23 grants.

Defendants have not identified any costs that are not reimbursable under the SSP grants.

       138. To the extent FEMA officials and other federal officials offered rationales for the
money grab on social media, in public statements, and in lawsuits to which the City is not a

party, these rationales are unsupported, and offer no legitimate basis for FEMA s action.

        l3g. To the extent the "noncompliance" letter purports to offer further rationales for the
money grab and/or the withholding, it does not add anything, is pretextual, unsupported, and

offer no legitimate basis for FEMAs action.

       140. Furthermore, all the rationales offered are inconsistent with and directly contrary
to the statutory text of the DHS Appropriations Act and the stated goals of the SSP, which

include providing funds to local govemments that provide food, shelter and other services for

migrants recently released by DHS into the community, in order to facilitate the safe, orderly,

and humane release of noncitizen migrants from DHS short-term holding facilities.

        l4l.   An action is also arbitrary and capricious if the agency "failed to consider. . .

important aspects of the problem" before it. Depl of Homeland Sec. v. Regents of the Univ. of

Califurnia,5gl U.S. 1,25 (2020) (quoting Motor Vehicle Mfrs.,463 U.S. at43). Here,

Defendants demonstrated no consideration of the City's substantial reliance interests in receiving

funds to reimburse the City for monies already spent housing and providing services to non-

citizenmigrants in compliance with the grant terms and requirements. Where, as here, "an

agency changes course ... it must 'be cognizant that longstanding policies may have engendered

serious reliance interests that must be taken into account."' Id. (quoting Encino Motorcars, LLC

v. Navarro,136 S. Ct.2ll7,2126 (2016)); see also Perez v. Mortgage Bankers Ass'n,575 U.S.


92, 106 (2015) ("[T]he APA requires an agency to provide more substantial justification when its




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new policy rests upon factual findings that contradict those which underlay its prior policy; or

when its prior policy has engendered serious reliance interests that must be taken into account.")

        142. Under 5 U.S.C. g 706 and28 U.S.C. g 2201, Plaintiffis entitled to a declaration
that the FEMAmoney grab violates theAPAbecause it is arbitrary and capricious.

        143. Under 5 U.S.C. g 706 and 28 U.S.C. 5 2201, Plaintiffis entitled to a declaration
that FEMAs withholding of SSP24 and SSP23 funding violates theAPAbecause it is arbitrary

and capricious.

        144. In addition, Plaintiffis entitled to additional appropriate relief under 5 U.S.C.
g 705 including (1) ordering Defendants to reverse the FEMAmoney grab by retuming the $80


million to the City's bank account; (2) enjoining Defendants from taking any further money from

any City bank account in connection with the SSP24 and SSP23 FEMA grants; and (3) enjoining

Defendants from implementing the withholding of SSP24 and SSP23 funds. Plaintiff seeks

preliminary relief with respect to (1) and (2).

                                         Count II
                                Substantive APA Violation
             Contrary to Lawo Ultra Vireso and in Excess of Statutory Authority
                               (Against Agency Defendants)

        145. The City repeats and realleges all paragraphs above as if fully set forth herein.
        146. Defendants include "agenc[ies]" under the APA. 5 U.S.C. $ 551(1).
        147. The FEMAmoney grab is agency action subject to review under theAPA.
        148. The withholding of SSP24 and SSP23 funding is agency action subject to review
under the APA.

        l4g. Under the APA, a court must "hold unlawful and set aside agency action, findings,
and conclusions found to be . . . contrary to constitutional right, power, privilege, or immunity,"




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or "in excess of statutory jurisdiction, authority, or limitations, or short of statutory right." 5

u.s.c. $$ 706(2xB) - (c).

        150. Neither the President nor an agency can take any action that exceeds the scope of
their constitutional and/or statutory authority.

        151. Congress enacted the APA "as a check upon administrators whose zeal might
otherwise have carried them to excesses not contemplated in legislation creating their offices."

Loper Bright Enterprises v. Raimondo, 603 U.S. 369,391 (2024) (quoting U.,S. v. Morton Salt,

338 U.S. 632,644 (1950)). Moreover, "section 706 makes clear that agency interpretations of

statutes-like agency interpretations of the Constitution-are not entitled to deference." Id. at

392 (emphasis in original). Rather, it "remains the responsibility of the court to decide whether

the law means what the agency says." Id. (quoting Perez v. Mortgage Bankers Ass'n,575 U.S.

92,109 (2015) (Scalia, J., concurring in judgment)).

        152. The DHS Appropriations Act authorizing the SSP grants appropriated funds for
the purpose of providing monies to local govemments that provide food, shelter and other

services for migrants recently released by DHS into the community, in order to facilitate the safe,

orderly, and humane release of noncitizen migrants from DHS short-term holding facilities.

Defendants cannot unilaterally grab back or refuse to disburse funds appropriated by Congress

contrary to congressional intent and directive.

        153. Moreover, the Impoundment Control Act of IgT4requires the Executive to make
appropriated funds "available for obligation," subject to only two exceptions: rescissions and

deferrals. 2 U.S.C. $$ 633-84. Deferrals may not be made for policy reasons, and rescissions are

subject to congressional approval. Id. $ 684(b).




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        154. The FEMA money grab is neither a lawful rescission nor a lawful deferral under
the Impoundment Control Act. It is not a lawful rescission because lawful rescissions are subject

to congressional approval,id. $ 684(b), and the President has not sought conglessional approval.

It is not a lawful deferral because Defendants made clear that the FEMAmoney grab was

motivated by a policy disagreement with the SSP. As the D.C. Circuit has explained, the

Executive lacks the statutory authority to engage in policy-based deferrals that would'onegate the

will of Congress." City of New Havenv. United States,809 F.2d 900,901 (D.C.Cir. 1987).

        155. Likewise, FEMA's withholding of SSP24 and SSP23 funding is neither a lawful
rescission nor a lawful deferral under the Impoundment Control Act. It is not a lawful rescission

because lawful rescissions are subject to congressional approval, and the President has not

sought congressional approval. It is not a lawful deferral because Defendants made clear that it

was motivated by their hostility to the stated purpose of the congressional appropriation and their

determination not to make SSP payments.

        156. Under 5 U.S.C. g 706 and28 U.S.C. $ 2201, Plaintiffis entitled to a declaration
that the FEMA money grab violates the APA because it is contrary to law, ultra vires, and in

excess of statutory authority.

        157. Under 5 U.S.C. g 706 and28 U.S.C. 5 2201, Plaintiffis entitled to a declaration
that FEMA s withholding of SSP24 and SSP23 funding violates the APA because it is contrary to

law, ultra vires, and in excess of statutory authority.

        158. In addition, Plaintiff is entitled to additional appropriate relief under 5 U.S.C.
$ 705 including (1) ordering Defendants to reverse the FEMAmoney grab by returning the $80

million to the City's bank account; (2) enjoining Defendants from taking any further money from

any City bank account in connection with the SSP24 and SSP23 FEMA grants; and (3) enjoining




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Defendants from implementing the withholding of SSP24 and SSP23 funds. Plaintiffseeks

preliminary relief with respect to (l) and (2).

                                          Count III
                                  Procedural APA Violation
                      Without Observance of Procedure Required by Law
                                (Against Agency Defendants)

        l5g. The City repeats and realleges all paragraphs above as if fully set forth herein.
        160. Defendants include "agenc[ies]" under theAPA. 5 U.S.C. $ 551(1).
        161. FEMA's withholding of SSP24 and SSP23 funding is agency action subject to
review under the APA.

        162. The FEMA money grab is agency action subject to review under the APA.
        163. Under theAPA, a court "shall . . . hold unlawful and set aside agency action,
findings and conclusions found to be . . . without observance of procedure required by law." 5

u.s.c. $ 706(2XD).

        164. Neither the DHS Appropriations Act, the SSP grant Award Letters, the NOFOs
nor the Code of Federal Regulations, incorporated into the SSP grant documents, permit

Defendants to grab back funds duly disbursed by FEMAto the City pursuant to and in

accordance with the SSP grants'terms and conditions. Neither do they allow Defendants to

withhold payment of funds that were approved pursuant to and in accordance with the SSP

grants' terms and conditions.

        165. To the extent Defendants may have had any legitimate concems about the City's
performance under the SSP grants , they were required to follow the procedures available under

the SSP GrantAward Letters, the NOFOs and the Code of Federal Regulations, incorporated into

the grant documents. But they did not do so.




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       166. Prior to grabbing back $80 million, Defendants did not provide the City with
notice of any agency determination of non-compliance, any specific conditions to be applied to

the City SSP grants, nor any grant suspension, pause or termination. 2 C.F.R. $$ 200.208,

200.243;200.305; 200.339 - 200.342. Nor did FEMA offer the City any opportunity to contest

any agency determinations.ld. S 200.342.

        167. FEMArepresented to the Rhode Island District Court as of February 11,2025 that
FEMAwas already "in the procoss of requesting information from NewYork City to further

investigate this matter" and would "provide[] notice" to the City and "provide the information

and process required by regulation and the terms and conditions of the award." Hamilton

Declaration atlll2,l3.Butatthetimeoftheirfiling,FEMAhadalreadygrabbedthe$80

million from New York City without providing notice, without requesting any information,

without announcing any findings, and without following any required process.

       168. By letter dated February ll,z}zs,Defendants provided the city a
'ononcompliance" letter concerning a "withholding" of funds that did not identifu any

noncompliance by the City. Rather, it announced purported "Findings," expressed as no more

than "concems" and which are, in any event, facially pretextual and unsupported. The

"noncompliance" letter requests information that is not related to the asserted concerns and seeks

information that, for the most part, has already been provided by the City, reviewed by FEMA'
                                                                              o'the
and determined to be sufficient for payment. The letter advises City OMB of           right to appeal"

within 60 days. This pretextual "noncompliance" letter does not provide the City with the

procedural protections to which it is entitled.




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        169. Under 5 U.S.C. $ 706 and28 U.S.C. $ 2201, Plaintiffis entitled to a declaration
that the FEMAmoney grab violates theAPAbecause it is without observance of procedure

required by law.

        170. Under 5 U.S.C. $ 706 and28 U.S.C. 5 2201, Plaintiffis entitled to a declaration
that FEMA's withholding of SSP 24 and SSP23 funding violates theAPAbecause it is it is

without observance of procedure required by law.

        17l. In addition, Plaintiff is entitled to additional appropriate relief under 5 U.S.C.
g 705 including (1) ordering Defendants to reverse the FEMA money grab by returning the $80


million to the City's bank account; (2) enjoining Defendants from taking any further money from

any City bank account in connection with the SSP24 and SSP23 FEMA grants; and (3) enjoining

Defendants from implementing the withholding of SSP24 and SSP23 funds. Plaintiff seeks

preliminary relief with respect to (1) and (2).

                                             Count IV
                                     Violation of Due Process
                                     (Against All Defendants)

        172. the City repeats and realleges all paragraphs above as if fully set forth herein.
        I73. Under the Due Process Clause of the Fifth Amendment of the United States
Constitution, the government may not deprive a person or entity of a protected property interest

without due process of law.

        174. Federal courts possess the power in equity to grant injunctive relief "with respect
to violations of federal law by federal officials." Armstrong v. Exceptional Child Ctr, lnc.,575

u.s. 320, 32617 (2015).




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        175. The City has a protected properfy interest in the $80 million that Defendants
grabbed back from the City's bank account and in the SSP23 funds it has been awarded and

which have been disbursed to the City.

       I76. Defendants'conduct in implementing the FEMAmoney grab deprived the City of
its property interest without providing notice or a pre-deprivation opportunity to be heard.

        177. While a post-deprivation opportunity to be heard would not be sufficient under the
circumstances, Defendants have not in fact provided a genuine post-deprivation opportunity to

be heard because the process being offered is pretextual and illusory. For example, while the

"noncompl ianse" letter requests more information, that information is largely identical to the

information that FEMA already reviewed and approved in connection with approving

disbursements to the City for the SSP24 and SSP23 grants. Additionally, the information

requested does not speak to the purported'oconcerns" articulated in the letter.

        178. Pursuant to 28 U.S.C . g 2201, Plaintiff is entitled to a declaration that the FEMA
money grab and the withholding of SSP24 and SSP23 funding are contrary to law.

        I7g. In addition, Plaintiff is entitled to additional appropriate relief including (1)
ordering Defendants to reverse the FEMAmoney grab by returning the $80 million to the City's

bank account; (2) enjoining Defendants from taking any further money from any City bank

account in connection with the SSP24 and SSP23 FEMA grants; and (3) enjoining Defendants

from implementing the withholding of SSP24 and SSP23 funds. Plaintiff seeks preliminary relief

with respect to (1) and (2).

                                              CountY
                                       Separation of Powers
                                     (Against All Defendants)

        180. The City repeats and realleges all paragraphs above as if fully set forth herein.


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       181. Article I, Section I of the United States Constitution enumerates that: "[a]ll
legislative Powers herein granted shall be vested in a Congress of the United States, which shall

consist of a Senate and a House of Representatives." U.S. Const. Art. I, Sec. 1.

           182. "As Chief Justice Marshall put it, this means that 'important subjects . . . must be
entirely regulated by the legislature itself,'even if Congress may leave the Executive 'to act

under such general provisions to fill up the details."' West Wrginia v. EPA,597 U.S. 697 '737

(2022) (Gorsuch, J., concurring) (quotingWaymanv. Southard, 10Wheat.I,42-43,6L.Bd.253

(1825)).

           183. The separation of powers doctrine thus represents perhaps the central tenet of our
constitution. See, e.g., Trump v. United States,603 U.S. 593,637-38 (202Q; West Wrginia v.

EPA,5g7 U.S. at 723-24. Consistent with these principles, the executive acts at the lowest ebb of

his constitutional authority and power when he acts contrary to the express or implied will of

Congress. Youngstown Sheet & Tube Co. v. Savvyer,343 U.S. 579, 637 (1952) (Jackson, J.,

concurring).

           184. FEMA s money grab and withholding of SSP24 and SSP23 funds violates the
separation of powers because the executive branch has overridden the careful judgments of

Congress by taking back funding and withholding funding, without legitimate basis or

justification, that was specifically authoized and appropriated under the DHS Appropriations Act

and was used by the City for the purposes set forth in that Act. Indeed, FEMA officials have

acknowledged that they are refusing and will continue to refuse to effectuate the DHS

Appropriations Act, thus acting contrary to law.

           185. Pursuant to 28 U.S.C . S 2201, Plaintiff is entitled to a declaration that the FEMA
money grab and the withholding of SSP24 and SSP23 funding are contrary to law.




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        186. In addition, Plaintiffis entitled to additional appropriate relief including (1)
ordering Defendants to reverse the FEMAmoney grab by retuming the $80 million to the City's

bank account; (2) enjoining Defendants from taking any further money from any City bank

account in connection with the SSP24 and SSP23 FEMA grants; and (3) enjoining Defendants

from implementing the withholding of SSP24 and SSP23 funds. Plaintiff seeks preliminary relief

with respect to (1) and (2).

                                            Count VI
                                        Spending Clause
                                     (Against All Defendants)

        187. The City repeats and realleges all paragraphs above as if fully set forth herein.
        188. The Spending Clause provides that Congress-not the Executive--o'shall have
Power to lay and collect Taxes, Duties, Imposts and Excises, to pay the Debts and provide for the

common Defence and general Welfare of the United States . . . ." lJ.S. Const. Art. I, Sec. 8,

clause l.

        189. "Congress'power to legislate under the spending power is broad," but conditions
on funding must be "unambiguous[]" and they cannot "surprise[] participating States [or

localities] with post acceptance or 'retroactive'conditions." Pennhurst State Sch. & Hosp. v.

Halderman 451 U.S. 1,17,25 (1931). States and localities must have fair notice of conditions,

and once funds have been accepted pursuant to a federal spending program, the Federal

govoffiment cannot alter the conditions attached to those funds so significantly as to

"accomplishl ] a shift in kind, not merely degree." Nat'l Fed'n of Indep. Bus. v. Sebelius,567

u.s. 5 19, 583-84 (2012).




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        190. Furthermore, conditions must be "reasonably related to the pu{pose of the
expenditure." New Yorkv. United States,505 U.S. 144,172 (1992) (citing Mass. v. United States,

435 U.s. 444 (1e78)).

        l9l.   FEMA's money grab and withholding violate the Spending Clause because the

executive branch has overridden the careful judgments of Congress by imposing purported new

conditions and requirements on SSP funding that are inconsistent with the DHS Appropriations

Act, the SSPAward Letters, the NOFOs and the Code of Federal Regulations as incorporated by

reference into the SSP grant documents.

        lg2. Pursuant to 28 U.S.C. S 220l,Plaintiffis entitled to a declaration that the money
grab and the withholding of SSP24 and SSP23 funding are contrary to law.

        lg3. In addition, Plaintiffis entitled to additional appropriate relief including (1)
ordering Defendants to reverse the FEMA money grab by returning the $80 million to the City's

bank account; (2) enjoining Defendants from taking any further money from any City bank

account in connection with the SSP24 and SSP23 FEMA grants; and (3) enjoining Defendants

from implementing the withholding of SSP24 and SSP23 funds. Plaintiff seeks preliminary relief

with respect to (1) and (2).


                                     PRAYER FOR RELIEF


       WHEREFORE, the City demands judgment against Defendants:

            (a) Declaring unlawful and setting aside the SSP24 $80 million money grab as

                arbitrary capricious, an abuse of discretion, or otherwise not in accordance with

               law under 5 U.S.C. $ 706(2XA); as contrary to constitutional right, power,

               privilege, or immunity under 5 U.S.C. $ 706(2XB); as in excess of statutory

               jurisdiction, authority, or limitations, or short of statutory right under 5 U.S.C.


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      $ 706(2XC); and without observance of procedure required by
                                                                          law under 5 U.S.C

      $ 706(2XD) and a violation of the Due Process Clause, the separation
                                                                                 of powers,

      and the Spending Clause of the United States Constitution;

  (b) Issuing a temporary restraining order and preliminary and permanent injunction

      ordering Defendants to reverse the SSP24 $80 million money grab by returning

      the $80 million to the City's bank account;

   (c) Issuing a temporary restraining order and preliminary and permanent injunction

      enjoining Defendants and their officers, employees, and agents from taking any

      further grant money from any City bank account in connection with SSP24 and

      SSP23 FEMA grants;

   (d) Declaring unlawful and setting aside the February 18,2025 FEMARemedy for

      Noncompliance Letter withholding funding as arbitrary capricious, an abuse of

      discretion, or otherwise not in accordance with law under 5 U.S.C. $ 706(2XA);

      as contrary to constitutional right, power, privilege, or immunity under 5 U.S.C.


      $ 706(2)(8); as in excess of statutory
                                               jurisdiction, authority, or limitations, or

      short of statutory right under 5 U.S.C. $ 706(2XC); and without observance of

      procedure required by law under 5 U.S.C $ 706(2XD) and a violation of the Due

      Process Clause, the separation of powers, and the Spending Clause of the United

      States Constitution;




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           (e) Awarding Plaintiffits costs and attorneys'fees in this action, and other

              disbursements as approPriate; and

           (f) Granting such other relief as this Court may deem just and proper.

Dated:        New York, New York
              February 21,2025

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